Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 1 of 60 PagelD #:1

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
JOHN ZINKEL, )
)
Plaintiff, )
)
VS. ) No.
)
VICKY PIPER, an individual, PRADIPTA ) [Removed From Circuit
KOMANDURI, an individual, CAROLYN NELSON, an __) Court of Cook County, Illinois
individual, and LOYOLA UNIVERSITY ) Case No. 2016L009718]
HEALTH SYSTEM, an Illinois corporation, )
)
Defendants. )

NOTICE OF REMOVAL OF A CIVIL ACTION

Defendants, Loyola University Health System (hereinafter “Loyola University”), Vicky
Piper (hereinafter “Piper”), Pradipta Komanduri (hereinafter “Komanduri) and Carolyn Nelson
(hereinafter “Nelson”) (hereinafter collectively “Defendants”), by and through their attorneys,
Camille Khodadad and Brian Hendricks of Hall Prangle & Schoonveld, LLC, submit this Notice
of Removal of the above-captioned civil action from the Circuit Court of Cook County, Illinois,
to the United States District Court for the Northern District of Illinois, pursuant to 28 U.S.C. §§

1331, 1367, 1441 and 1446 and, and as grounds for the removal state as follows:
Statement of the Case

1. On or about September 30, 2016, John Zinkel filed a Complaint against
Defendants in the Circuit Court of Cook County, Illinois, Case No. 2016L009718 (the “State
Court Action”) alleging Intentional Infliction of Emotional Distress against Defendants Piper,
Komanduri and Nelson (Count JI), Intentional Infliction of Emotional Distress by Respondeat

Superior against Defendant Loyola University (Count II), and Tortious Interference with a
Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 2 of 60 PagelD #:2

Business Relationship or Expectancy against Defendants Piper, Komanduri and Nelson (Count
III). (See Complaint, attached hereto as Exhibit A).

2. On October 4, 2016, attorney for Defendants, Camille Khodadad, advised
Plaintiff's counsel, Ruth Major, that she would accept service for Defendants. On October 11,
2016, Plaintiff's counsel, Daniel Broadwell, served Defendants through Ms. Khodadad. (See
email from Camille Khodadad to Ruth Major dated October 4, 2016, attached hereto as Exhibit
B; and email from Daniel Broadwell to Camille Khodadad dated October 11, 2016 with civil
cover sheet and summons, attached hereto as Exhibit C).

3. On November 30, 2016, Circuit Court Judge Larry Axelrood entered an Order
giving Defendants until December 28, 2016 to answer or otherwise plead. (See Judge
Axelrood’s November 30, 2016 Order, attached hereto as Exhibit D).

4. On December 30, 2016, Defendants filed a Motion to Dismiss all counts of
Plaintiff's Complaint. At the January 6, 2017 hearing on Defendants’ Motion to Dismiss,
Plaintiff's counsel advised the Court that Plaintiff would be filing an Amended Complaint.
Accordingly, the Court entered an Order: granting Plaintiff until on or January 18, 2017 to file an
Amended Complaint; entering and continuing Defendants’ Motion to Dismiss until February 3,
2017; and setting the matter for status on February 3, 2017. (See January 6, 2017 Order,
attached hereto as Exhibit E).

5. On January 17, 2017, Plaintiff filed an Amended Complaint asserting the
following additional causes of action: Discrimination in violation of Title VII of the Civil Rights
Act of 1964, 42 U.S.C. § 2000e ef seg. against Defendant Loyola University (Count IV);
Discrimination in violation of the Age Discrimination in Employment Act, 29 U.S.C. § 621 et

seq. against Defendant Loyola University (Count V); Discrimination in violation of the
Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 3 of 60 PagelD #:3

Americans with Disabilities Act, 42 U.S.C. § 12111 et seq. against Defendant Loyola University
(Count VI); and Wrongful discharge against Defendant Loyola University (Count VII). (A copy
of the January 17, 2017 Amended Complaint is attached hereto as Exhibit F).

6. At the February 3, 2017 hearing, the Court entered and continued Defendants’
Motion to Dismiss to March 3, 2017. (See February 3, 2017 Order, attached hereto as Exhibit
G).

Federal Question Jurisdiction under 28 U.S.C. § 1331

7. This Court has original jurisdiction over this matter under 28 U.S.C. § 1331 and
the matter may be removed pursuant to 28 U.S.C. §1441 because this civil action arises under the
laws of the United States.

8. In Plaintiff's January 17, 2017 Amended Complaint in the State Court Action,
Plaintiff added the following causes of action based on federal law: Discrimination in violation
of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000¢e et seg. against Defendant Loyola
University (Count IV); Discrimination in violation of the Age Discrimination in Employment
Act, 29 U.S.C. § 621 et seg. against Defendant Loyola University (Count V); and Discrimination
in violation of the Americans with Disabilities Act, 42 U.S.C. § 12111 ef seg. against Defendant
Loyola University (Count VI).

9. These federal law causes of action were not alleged in the original Complaint
which was based solely on state law claims.

10. _— As Plaintiffs discrimination claims are predicated on federal law, the State Court

Action is properly removable to this Court.
Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 4 of 60 PagelD #:4

11. Under 28 U.S.C. § 1367 et seq., the federal courts have supplemental jurisdiction
over Plaintiff's state law claims as they are “related to claims in the action within such original
jurisdiction that they form part of the same case or controversy ... .” 28 U.S.C. § 1367(a).

Procedural Requirements for Removal Have Been Satisfied

12, This Notice of Removal has been filed within the permissible 30 day period of
service of the Amended Complaint (January 17, 2017) which gave the basis for removal.
Removal is therefore timely in accordance with 28 U.S.C. § 1446(b).

13. The United States District Court for the Northern District of Illinois is the federal
judicial district encompassing Cook County, Illinois, where this action was filed. Therefore,
venue lies in this Court pursuant to 28 U.S.C. §1441 (a) (“any civil action brought in a state court
of which the district courts of the United States have original jurisdiction, may be removed by
the defendant or the defendants, to the district of the United States for the district and division
embracing the place where such action is pending”).

14. —_ Pursuant to 28 U.S.C. §1446 (a), copies of “all process, pleadings, and orders
served upon” Defendants in the State Court Action are attached hereto as Exhibits A and C-G.

15. Pursuant to 28 U.S.C. §1446 (d), Defendants are giving written notice of the filing
of the Notice of Removal to Plaintiff and a copy of this Notice of Removal is being filed with the
Clerk of the Circuit of Cook County, I!linois.

Conclusion

By this Notice of Removal, Defendants do not waive any objections they may have to
jurisdiction or venue, or any other defenses or objections they may have to this action.
Defendants intend no admission of fact, law or liability by this Notice, and expressly reserves all

defenses, motions and/or pleas.
Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 5 of 60 PagelD #:5

Respectfully submitted,

/s/ Camille N. Khodadad

One of the Attorneys for Defendants LOYOLA
UNIVERSITY HEALTH SYSTEM, VICKY PIPER,
PRADIPTA KOMANDURI and CAROLYN NELSON

Camille N. Khodadad (ckhodadad@hpslaw.com)
Brian F. Hendricks (bhendricks@hpslaw.com)
HALL PRANGLE & SCHOONVELD, LLC
200 South Wacker Drive, Suite 3300

Chicago, Illinois 60606

312-345-9600 | Phone

312-345-9608 | Fax

CERTIFICATE OF SERVICE

The undersigned, a non-attorney, states that she served the foregoing via U.S. mail to all
counsel of record below before the hour of 5:00 p.m. on the 15th day of February, 2017:

Attorney for Plaintiff
The Law Offices of Ruth I. Major, PC

30 W. Monroe Street, Suite 1650
Chicago, IL 60603

/s/ Diana Castillo
Diana Castillo

[x] Under penalties as provided by law pursuant to 735 ILCS. 5/1-109, I certify that the
statements set forth herein are true and correct.

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 6 of 60 PagelD #:6

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Y. Case No.
“VICKY PIPER, an individual, PRADIPTA
KOMANDURL, an individual, CAROLYN
NELSON, an individual, and LOYOLA
UNIVERSITY HEALTH SYSTEM, an
Illinois corporation,

Defendants.

VERIFIED COMPLAINT AT LAW

Plaintiff John Zinkel, by his attorneys, The Law Offices of Ruth I. Major, P.C., for his
Verified Complaint at Law against Defendants, Vicky Piper, Pradipta Komanduri, Carolyn Nelson
and Loyola University Health System (“Loyola”) alleges as follows:

INTRODUCTION

Ls Mr, Zinkel was employed by Loyola for 33 years during which time he was
repeatedly promoted and held various positions within the hospital. His most recent title was
Director of Respiratory Care.

2. During Mr. Zinkel’s employment, he helped redesign the Loyola LIFESTAR
Aeromedical Program, which provides critical care transport service, after he discovered that the
original helicopter transport service was improperly overcharging the hospital millions of dollars
per year. Mr. Zinkel’s contributions to the new LIFESTAR program included assisting the new
vendor in the building of the helicopter, whereby he had input into the design specifications, and

assisting in the hiring of the pilots who would be flying the new helicopter. Mr. Zinkel also

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 7 of 60 PagelD #:7

developed the Loyola Pediatric Mobile Health Unit, which is a pediatric doctor’s office on wheels
that serves underprivileged communities in the Chicago area. The first of its kind in the Midwest,
it provides vital healthcare services to children and young adults, from birth to age 21, who might
otherwise not have access to healthcare in their community. It has served 113,000 patients since
its inception. Mr. Zinkel also developed the Loyola Fitness Center Operations. The Loyola Fitness
Center is a beautiful, state-of-the-art fitness club in Maywood, near Oak Park, with endless
amenities and services to fit the community’s needs. It is the only certified Medical Fitness
Association (MFA) facility in its area.

3. Mr. Zinkel was also recognized for his contribution to Loyola on multiple
occasions, as the recipient of multiple awards, including Loyola’s 2005 Spirit of Dr. Martin Luther
King Award, Ronald McDonald House Charities’ 2006 Spirit of Hope Award for his work with
the Loyola Pediatric Mobile Health Unit, and Loyola’s 2008 Magis Leadership Award.

4, Beginning in March 2013, Loyola began to discharge white male employees over
40, many of whom were long time employees of Loyola like Mr. Zinkel, and replace them with
younger, often female employees, and often non-white employees. Many of these employees had
devoted a large part of their professional careers to Loyola and were primary breadwinners for
their families. At that time, Human Resources expressed a goal of cutting costs, including by
reducing sick leave. Mr. Zinkel was very concerned about the company targeting sick leave,
especially because he was diagnosed with leukemia in 2011.

5. On or about September 30, 2014, Mr. Zinkel was directed to reduce his staff by
seven full-time equivalent employees (“FTEs”), which was almost twice the amount that had been

recommended by the Loyola unit responsible for determining appropriate staffing hospital-wide.

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 8 of 60 PagelD #:8

At that time, both Defendant Piper and Defendant Nelson were already aware of his medical
condition.

6. Following the meeting, Mr. Zinkel drafted several plans for staff reorganization but
those plans were always met with subjective criticism. Not a single one of his plans was deemed
acceptable by his supervisor, Defendant Komanduri. Based on his purported failures in connection
with the reorganization, Mr. Zinkel was placed on a Work Improvement Plan (hereinafter referred
to as “WIP”). He had never received any performance-related criticism prior to the issuance of the
WIP in his 33 years of employment, and the WIP contained false statements regarding his
performance. As a result of the stress induced by his receipt of the WIP and the WIP meeting itself,
Mr, Zinkel’s leukemia substantially worsened. Only three days after the WIP was instituted, Mr.
Zinkel collapsed twice, once in his office and once at the doctor’s office, causing his doctor to
place him on triple chemotherapy and a three-month leave per the Family and Medical Leave Act
of 1993, 29 U.S.C. § 2601, ef seg. (hereinafter referred to as “FMLA). Mr. Zinkel attempted to
return to work only two months into his FMLA leave, as he feared for his job. He obtained his
doctor’s permission by volunteering to work during the day and receive his chemotherapy at night.
After returning to work, Mr. Zinkel continued to submit reorganization plans for his department,
and those plans were continually rejected by Defendant Komanduri and Defendant Nelson.
Finally, on February 20, 2015, Mr. Zinkel received a separation agreement and release from
Defendants Nelson and Komanduri. The time period for improving performance under the WIP
had not expired, and had in fact barely started, at the time he went on the FMLA-approved leave.
After informing both women that he was still receiving chemotherapy and their conduct may be in
violation of the Americans with Disabilities Act, 42 U.S.C. § 12101, ef seg. (hereinafter referred

to as the “ADA”), they allowed a three-month extension of Mr. Zinkel’s FMLA leave but he was

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 9 of 60 PagelD #:9

not permitted to return to work, Mr, Zinkel was told that after his leave expired, his employment
would be terminated. Defendants maintained that the termination occurred for performance
reasons, yet in March 2015, the very month after he was told his employment was being
terminated, Acting Director of Respiratory Care Bob Obias, Mr. Zinkel’s significantly younger
and non-disabled replacement, implemented the very same reorganization plan that had been used
as the basis for Mr. Zinkel’s performance plan.

PARTIES

7. Plaintiff John Zinkel is a citizen of Illinois. He was an employee of Loyola for 33
years before his employment was involuntarily terminated, holding the position of Director of
Respiratory Care just prior to his termination.

8. Defendant Vicky Piper is a citizen of Illinois. Ms. Piper, an agent of Loyola, worked
as the Human Resources Vice President at all times relevant to this Verified Complaint.

9. Defendant Pradipta Komanduri is a citizen of Illinois. Ms. Komanduri, an agent of
Loyola, worked as Vice President at all times relevant to this Verified Complaint. Defendant
Carolyn Nelson is a citizen of Iinois.

10. Ms. Nelson, an agent of Loyola, worked as Director of Human Resources at all
times relevant to this Verified Complaint.

11. Defendant Loyola was incorporated in the State of Illinois on June 11, 1984. Atall
times relevant to this Verified Complaint, Loyola was a not-for-profit corporation headquartered
in Illinois.

JURISDICTION AND VENUE
12. This Court has jurisdiction over this matter, as each party to the Complaint is a

resident of Illinois. 735 ILCS 5/2-209.

 

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13, Venue is proper in this district pursuant to 735 ILCS 5/2-101 and 735 ILCS 5/2-
102 because the county in which the transaction out of which this cause of action arose was Cook
County, Illinois.

FACTS

14. Mr. Zinkel worked for Loyola for 33 years until his employment was terminated on
February 20, 2015.

15. | Throughout his career at Loyola, Mr. Zinkel was responsible for a variety of
significant programs for Loyola. He developed the Loyola LIFESTAR Aeromedical Program, the
Loyola Mobile Medical Outreach Program, the Loyola Fitness Center Operations, and the Loyola
Pediatric Mobile Health Unit. The Loyola Pediatric Mobile Health Unit has cared for over 100,000
children. Programs nationwide base their model for similar programs on the one that Mr. Zinkel
developed. Mr. Zinkel drafted a manual for the mobile unit that is still used by the Ronald
McDonald House Charities Global Division in order to facilitate duplications. Ronald McDonald
House Charities recognized his efforts, as he was the recipient of the 2006 Spirit of Hope Award.

16. In 2005, Mr. Zinkel became the Director of Respiratory Care and subsequently, in
2008, took on the additional role as director of Loyola Cardiology Noninvasive Care.

17. Defendant Piper had expressed Loyola’s concerns about decreasing costs for
several years. During a leadership meeting Plaintiff attended sometime in 2010, Defendant Piper
discussed the drawback of unproductive days off and specifically highlighted a Director of
Security that was hospitalized after a cancer diagnosis who, according to Defendant Piper, was
“costing us millions.”

18. In December of 2010, Mr. Zinkel provided interim coverage as Vice President of

Quality, Patient Safety and Patient Satisfaction per the request of Loyola’s senior leadership at the

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 11 of 60 PagelD #:11

time. Trinity Healthcare acquired Loyola in 2011 and during that period of transition, Mr. Zinkel
worked with the Vice President and Chief Medical Officer in order to reorganize and revitalize the
Center for Clinical Effectiveness, His main charge in that role was to prevent staff turnover and he
had a 100% success rate,

19. Mr. Zinkel was diagnosed with acute lymphocytic leukemia in December of 2011.
Following this diagnosis, Mr. Zinkel’s doctors, who were also employees of Loyola, advised that
his condition should be monitored, as his health was not deteriorating to the extent that
chemotherapy or some other treatment would be required. Rather, the leukemia was worsening
gradually, which continued for approximately 18 months.

20. Beginning in March 2013, Loyola began to discharge white male employees over
40 and replace them with younger, usually female employees and usually non-white employees.
In a thirty-month period ending in December of 2015, Loyola terminated at least 17 males, many
of whom were long-time employees of Loyola, who were over forty years old at the time they
were terminated, and replaced them with younger employees.

21. In June of 2013, Mr. Zinkel’s medical condition drastically deteriorated. He was
hospitalized and placed on a three-month FMLA leave, during which he was placed on double
chemotherapy. Defendants Piper and Nelson were aware of Mr. Zinkel’s medical condition from
this time forward, as they had both approved of his FMLA leave.

22, After his FMLA leave ended in September of 2013, Mr. Zinkel returned to work.
He completed his six-month round of chemotherapy in December of 2013, and was doing well
enough that his doctors again advised that the best course was to simply monitor his condition. He

would not again require chemotherapy until late October of 2014.

 

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23. On September 30, 2014, Mr. Zinkel met with Defendants Komanduri, Nelson, and
Piper, as well as Loyola’s Chief Executive Officer (“CEO”) Wendy Leutgens. The presence of the
CEO, as well as that of Defendant Piper, the Human Resources Vice President, was an anomaly,
as both usually would not have been involved in a meeting with Mr. Zinkel or someone else who
was the director of a comparable department, about a subject like staffing in that department.

24. Nonetheless, during that meeting, Mr. Zinkel was addressed only by Ms. Leutgens
and Defendant Piper, who directed him to reduce the number of full-time equivalent employees
(FTEs) on his staff by 7. At the time, this represented a cut of approximately 8.24% of his FTE
staff. Mr. Zinkel tried to advise the individual Defendants and Ms. Leutgens that the metrics they
were using to evaluate his staff needs only considered a minute percentage of the appropriate
metrics, and that from a clinical perspective, he needed to retain his staff at its current numbers, or
at least to cut fewer than the 7 positions they demanded. However, Defendants and Ms. Leutgens
did not alter their position.

25. Defendants directed him to reduce his FTEs by the wrong amount. Decision
Support, the unit at Loyola charged with determining appropriate staffing throughout the hospital,
subsequently informed Mr. Zinkel, after he sought their input on the same day he met with the
individual Defendants and Ms. Leutgens, that the number by which he should have been advised
to reduce his staff was 4. As a result, Mr. Zinkel arranged to cut his staff by 4 FTEs.

26. Inthe September 30 meeting with the individual Defendants and Ms. Leutgens, Mr.
Zinkel was asked to prepare an organizational plan for his department, which would demonstrate
how he intended to accommodate the FTE reduction without decreasing the services that the

department provided.

 

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27, Mr. Zinkel submitted such a plan to Defendant Komanduri, as she was his
supervisor, and sought her input on that plan. She never responded to his submission prior to his
next meeting with the same four individuals, which occurred approximately two weeks after the
September 30 meeting. During that second meeting, Ms. Leutgens ridiculed Mr. Zinkel again,
claiming to “not buy” his position that the staffing metrics should be based on approximately 100
data points to cover the services offered by the staff in Mr. Zinkel’s department.

28. Mr. Zinkel’s initial plan was rejected at that meeting, which forced his reduced staff
to continue to proceed under the old organizational structure, which was developed to function
with 4 more staff members than were at that time employed by the department. At that meeting,
Defendant Piper also treated Mr. Zinkel with disdain after he mentioned that attempts to hire other
personnel for his department had not been successful, in part due to the compensation packages
that were offered by Defendant Loyola being less than the potential employees could earn for the
same work elsewhere.

29. In the following weeks, Mr. Zinkel presented multiple different plans to Defendant
Komanduri and all such plans were immediately rejected.

30. Finally, on October 24, 2014, Defendant Komanduri and Mr. Zinkel had a
discussion via email regarding next steps for moving forward with the most recent plan that had
been submitted by Mr. Zinkel. This indicated to Mr. Zinkel that this plan might be approved, or at
least, that he was making progress. At the end of the discussion, Defendant Komanduri even closed
her last email on the topic by advising him to have a good weekend, as the discussion concluded
near the end of that day, which was a Friday.

31. Just eighteen minutes after Defendant Komanduri’s email was sent, Mr. Zinkel was

called into her office where Defendants Komanduri and Nelson waited. At this point, Mr. Zinkel

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 14 of 60 PagelD #:14

was issued a WIP that had been signed by Defendant Komanduri. However, Defendant Komanduri
did not speak during this meeting, Instead, Defendant Nelson yelled and screamed at Mr, Zinkel
that he was wasting everyone’s time with the plans he had proposed, and threatened that he would
lose his job, his benefits, and his whole career if he did not develop a reorganization plan that they
approved, Based on a seminar that Mr. Zinkel and other Loyola managers had attended, he
recognized Defendant Nelson utilizing the type of language one used when attempting to bait an
employee inte responding in kind, which would have given Defendant Nelson immediate
justification to terminate Mr. Zinkel, for cause, due to what would have been called “disrespectful
and insubordinate behavior.” Mr. Zinkel did not respond in kind and kept his professional
demeanor throughout the meeting.

32. | Mr. Zinkel had no prior indication that they considered his performance to be
deficient, especially in light of the fact that less than twenty minutes before, Defendant Komanduri
had indicated moving forward with the plan most recently proposed by Mr. Zinkel. The WIP
contained false statements regarding Mr. Zinkel’s work performance.

33. Mr. Zinkel told the Defendants that he had been an employee for 33 years, had
always received positive performance reviews, and that he was suffering from leukemia and
needed his job and benefits. Mr. Zinkel began to cry and Defendants Komanduri and Nelson
offered no response. Mr. Zinkel was the sole breadwinner for his wife, who was then and remains
disabled, and his school-aged daughter. He understood that the path Defendants were going down
would ultimately result in the loss of his 33-year career at Loyola and likely his livelihood.

34. Over the next two days, Mr. Zinkel had trouble sleeping and was understandably

distraught about the meeting at which he was issued the WIP.

 

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35. Three days later, on October 27, 2014, Mr. Zinkel collapsed in his office. Upon
atriving at the Cancer Center, Mr. Zinkel again collapsed, and his physicians found that his
leukemia had severely worsened and he would require triple chemotherapy for the next six months.

36. | When Mr. Zinkel’s doctor asked what could have caused the rapid worsening of his
cancer, Mr. Zinkel told him of his job stress and the most recent WIP. After hearing such news,
Dr. Scott Smith completed FMLA leave paperwork for him and Mr. Zinkel was subsequently
placed on a three-month leave.

37. On December 27, 2014, only two months into the three-month leave he was
approved to take, Mr. Zinkel submitted a Return to Work letter and returned to work. His plan was
to work during the day shift and receive chemotherapy at night, as he was fearful that he would
lose his job if he did not return as soon as he felt well enough to do so, given the comments by
Defendant Piper dating back to 2010, and the meetings he had with Defendants over the preceding
few months.

38. Mr. Zinkel attached a copy of his chemotherapy schedule to his letter and sent it to
Defendant Komanduri. She did not respond. Throughout January and February of 2015, Mr. Zinkel
met with Defendant Komanduri to review his progress on his plan for staff reorganization and on
his WIP. Those meetings were also attended by Defendant Nelson, who did the majority of the
talking just as she had during the October 24 WIP meeting.

39. On Friday, February 20, 2015, Mr. Zinkel was called into a meeting with Human
Resources. At the meeting, he received a Confidential Separation Agreement and Release from
Defendants Nelson and Komanduri. After Mr. Zinkel informed them that he was still receiving
chemotherapy and that their actions might be in violation of the ADA, the two women left the

room for approximately thirty minutes and then returned to inform Mr. Zinkel that he could extend

 

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his FMLA leave for another three months. However, they also notified Mr. Zinke] that at the end
of the three-month extension, they could either finalize the separation agreement or start a long-
term disability claim.

40. Mr. Zinkel asked if he would be allowed to return to Loyola following his FMLA
leave and Defendants Nelson and Komanduri replied that he would be terminated once his leave
expired.

41, In March of 2015, less than a month after Mr. Zinkel’s termination, Acting Director
Bob Obias, Mr. Zinkel’s interim replacement, implemented the very organizational plan that was
the purported basis for Defendants’ decision to terminate Mr. Zinkel’s employment. The 100-point
metric that Mr. Zinkel had been proposing since the September 30, 2014 meeting, that Defendants
repeatedly rejected, was also adopted soon after Mr. Zinkel’s termination. Both were accepted by
Defendants when proposed by Mr. Zinkel’s replacement. On the basis of those data points, under
that metric, Defendant Loyola advised Mr. Obias that his department was understaffed.

COUNT I- INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
(Defendants Piper, Komanduri, and Nelson)

42. Mr. Zinkel restates and realleges by reference paragraphs | through 41 as paragraph
42 of Count I.

43. Defendants occupied a position of authority giving them the power to affect Mr.
Zinkel’s continued employment and compensation with Loyola. The individual Defendants were
agents of Defendant Loyola and used the positions and authority bestowed upon them by
Defendant Loyola to cause severe emotional distress to Mr. Zinkel.

44.  Asof their September 30, 2014 meeting with Mr. Zinkel, wherein they advised him

to cut seven FTEs from his department, Defendants had recently demonstrated a pattern of

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 17 of 60 PageID #:17

discharging employees in Mr. Zinkel’s demographic. Defendants had also expressed goals of
cutting what they referred to as “non-productive days off,” which included sick days.

45. Mr. Zinkel was diagnosed with leukemia in late 2011 and was experiencing the
stress that comes with a cancer diagnosis from that point forward. Defendants Nelson and Piper
were aware of his condition as of their approval of his June 2013 FMLA leave, and Defendant
Komanduri was informed by Mr. Zinkel that he had leukemia during the October 24, 2014 WIP
meeting.

46. Defendants knew that directing Mr. Zinkel to fire seven FTEs would add emotional
distress to his already vulnerable state.

47. After verifying the correct number of FTEs was four, Mr. Zinkel drafted plans that
would ensure that his department would continue running in the same manner as directed by
Defendants.

48. Defendants intentionally denied any plans that Mr. Zinkel proposed to make him
seem ineffective.

49. The conduct Defendants engaged in, including consistently denying Mr. Zinkel’s
plans while he was in an already emotionally and physically vulnerable state, issuing a WIP with
false statements regarding his performance, yelling at him and attacking him during meetings,
attempting to terminate Mr. Zinkel while he was receiving increased chemotherapy and had just
returned to work early from an FMLA leave, and ultimately approving his plans when later
presented by his successor, after ridiculing and denying those same plans when proposed by Mr.
Zinkel was extreme and outrageous,

50. Defendants meant to cause, or recklessly or consciously disregarded the probability

that their treatment of Mr. Zinkel may cause, severe emotional distress to a man who previously

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 18 of 60 PagelID #:18

advised them that maintaining his job and his health benefits was critical to his ability to survive
his leukemia diagnosis, and could also cause him additional stress that could and did exacerbate
his already fragile medical condition.

51. Asa proximate result of the Defendants’ conduct, Mr. Zinkel has suffered severe
and extreme emotional distress, in the form of fright, worry, shame, hopelessness, despair,
humiliation, and panic that he might die if he lost his job and his benefits, rendering him unable to
pay for his continued medical care. Those emotions manifested in Mr. Zinkel breaking down and
crying at the October 24, 2014 meeting, Mr. Zinkel collapsing in his office, and ultimately a severe
worsening of his previously diagnosed leukemia.

52, No reasonable person could have been expected to endure the treatment Mr. Zinkel
received, given his medical condition of which Defendants were aware when they caused him
additional stress and severe emotional distress.

WHEREFORE, Plaintiff John Zinkel respectfully requests the enury of judgment in his
favor and against Defendants Piper, Komanduri, and Nelson, jointly and severally, as follows:

A. An award of compensatory damages in an amount to be proven at trial, but which
is in excess of $30,000;

B. Costs; and

C. Such other, further and additional relief as may be just in law and in equity.

COUNT II - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS, BY
RESPONDEAT SUPERIOR
(Against Defendant Loyola)

53. Mr. Zinkel restates and realleges by reference paragraphs | through 52 as paragraph

53 of Count IL.

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 19 of 60 PagelD #:19

54, When the individual Defendants caused Mr. Zinkel severe emotional distress
through their pattern of extreme and outrageous conduct as detailed supra, either with the intent
to cause, or the knowledge of a high degree of probability that their conduct would cause, severe
emotional distress to Mr. Zinkel, they were acting within the scope of their employment with
Defendant Loyola.

55. As the individual Defendants acted within the scope of their employment while
committing intentional infliction of emotional distress against Mr. Zinkel, their conduct may be
imputed to Defendant Loyola by the theory of respondeat superior.

WHEREFORE, Plaintiff John Zinkel respectfully requests the entry of judgment in his
favor and against Defendant Loyola, as follows:

A. An award of compensatory damages in an amount to be proven at trial, but which
is in excess of $30,000;

B. Costs; and

C, Such other, further and additional relief as may be just in law and in equity.

COUNT [II - TORTIOUS INTERFERENCE WITH
A BUSINESS RELATIONSHIP OR EXPECTANCY
(Against Defendants Piper, Komanduri, and Nelson)

56. | Mr. Zinkel restates and realleges by reference paragraphs | through 55 as paragraph
56 of Count Il.

57, Mr. Zinkel was an employee with Loyola for over thirty-three years. All parties
were aware of said employment relationship.

58. Defendants had no justification including false information within the WIP that

they issued to Mr. Zinkel.

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 20 of 60 PagelD #:20

59, Defendants had no justification for denying Mr. Zinkel’s plans to address the
concerns they raised with him on September 30, 2014, while also allowing his department to
maintain its previous level of service to patients. Their lack of justification for said denial was
evidenced when one of his plans was adopted and implemented when proposed by his interim
successor following his termination.

60. Considering Mr. Zinkel’s clinical qualifications, experience, and lack of valid
performance criticisms, the individual Defendants acted in direct contradiction to the interests of
Defendant Loyola.

61. Prior to the meetings on September 30, 2014, October 24, 2014, and February 20,
2015, Mr. Zinkel reasonably expected to continue his employment with Loyola. Defendants knew
of his intention to maintain his employment with Loyola as he expressed such an intention at the
September 30, 2014 meeting, at which he advised Defendants of his desire to keep his job and to
retain all the benefits associated with that position to allow him to continue to work, while also
undergoing treatment for his medical condition.

62. The individual Defendants interfered with and terminated Mr. Zinkel’s
employment and thereby interfered with the continued development of his business relationship
with Defendant Loyola. They did so to further their own interests in presenting a reduced budget
to corporate headquarters because by reducing costs they would receive higher bonuses. It was not
in the interest of Defendant Loyala to violate state and federal discrimination laws and expose
Defendant Loyola to damages. Nor was it in Loyola’s interest to terminate the employment of a

33-year veteran who had contributed so much to the hospital and the community.

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 21 of 60 PagelD #:21

63. Asa result of tortious interference by the individual Defendants, Mr. Zinkel has
damages including, but not limiting to, substantial loss of economic opportunity and damage to his

professional reputation.
WHEREFORE, Plaintiff John Zinkel respectfully requests the entry of judgment in his
favor and against Defendants Piper, Komanduri, and Nelson as follows:
A. An award of compensatory damages in an amount to be proven at trial;
B. Punitive damages; and
Cc. Such other and further relief as may be just in law and in equity.
JURY DEMAND

Plaintiffs demand trial by jury on all issues so triable.

Respectfully submitted,

Dated: September 30, 2016 JOHN ZINKEL \

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“Oneyf His Attorneys ria

  

Ruth I. Major

Daniel R. Broadwell

The Law Offices of Ruth I. Major, PC
30 West Monroe Street, Suite 1650
Chicago, Ilinois 60603

Phone: (312) 893-7544

rmajor@major-law.com

dbroadwell@maijor-law.com
Firm No. 45037

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 22 of 60 PageID #:22

VERIFICATION
Under penalties as provided by law pursuant to Section 1-109 of the Illinois Code of
Civil Procedure, the undersigned certifies that the statements set forth in this instrument are true
and correct, except as to matters therein stated to be on information and belief and as to such

matters the undersigned certifies as aforesaid that he verily believes the same to be true.

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John/Zihkel C7 —~7
9/30/2016

 

Date

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 23 of 60 PagelID #:23

Camille Khodadad

From: Camille Khodadad

Sent: Tuesday, October 04, 2016 2:40 PM

To: 'rmajor@major-law.com'

Ce: Diana Castillo

Subject: Zinkel v. Piper et al. - Circuit Court of Cook County
Ruth,

In confirmation of our telephone conversation today, | will accept service on behalf of the defendants.
Please do not hesitate to let me know if you have any questions or comments.
Best regards,

Camille

Camille N. Khodadad

Hall Prangle & Schoonveld, LLC
200 South Wacker Drive, Suite 3300
Chicago, Illinois 60606

Direct: (312) 267-6333

Cell: 312-804-6089

Facsimile: (312) 277-7135

E-mail: ckhodadad@hpslaw.com

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disclose the contents or take any action in reliance upon the information contained in this communication or attachments.

DEFENDANT’S
1 j EXHIBIT

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 24 of 60 PagelD #:24

Camille Khodadad

From: Daniel Broadwell <dbroadwell@major-law.com>

Sent: Tuesday, October 11, 2016 4:05 PM

To: Camille Khodadad

Cc: Ruth Major

Subject: Zinkel v. Piper et al., 2016-L-009718/ Verified Complaint, Civil Cover Sheet, and Summonses

Attachments: File-Stamped Verified Complaint.pdf; Civil Action Cover sheet.pdf; Summons Piper.pdf;
Summons Komanduri.pdf; Summons Nelson.pdf; Summons Loyola University Health
System. pdf

Dear Ms. Khodadad,

As you have confirmed with Ms. Major that you have accepted service on behalf of all Defendants in the above-
referenced matter, | have attached a copy of the Verified Complaint, Civil Cover Sheet, and the Summonses for the
Defendants in this matter.

Please contact me if you have any questions.
Very truly yours,

Dan Broadwell

| | Daniel R. Broadwell

dj O [ a VW Associate Attorney
The Law Offices of Ruth |. Major PC
30 W. Monroe St., Suite 1650
Chicago, IL 60603
Tel. 312.893.7544
Tel. 312.893.7521 Direct
Fax. 312.698.9867
dbroadwell@major-law.com

www.major-law.com

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DEFENDANT’S
1 EXHIBIT

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 25 of 60 PagelD #:25

 

 

 

 

 

 

 

 

 

 

 

 

 

Civil Action Cover Sheet - Case I{nitation (05/27/16) CCL 0520
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION
JOHN ZINKEL
Vv. No.
LOYOLA UNIVERSITY HEALTH SYSTE
CIVIL ACTION COVER SHEET - CASE INITIATION
A Civil Action Cover Sheet - Case Initiation shall be filed with the f ‘
complaint in all civil actions. Th e information contained herein ELECTRONICALLY FILED
is for administrative purposes only and cannot be introduced into anne ope
evidence, Please check the box in front of the appropriate case CALENDAR: R
type which best characterizes your action. Only one (1) case type | CIRCUIT COURT OF
may be checked with this cover sheet. i COOK COUNTY, ILLINOIS
LAW DIVISION

Jury Demand = [¥JYes__— LJNo CLERK DOROTHY BROWN
PERSONAL INJURY/WRONGFUL DEATH
CASE TYPES:

(1 027 Motor Vehicle (FILE STAMP)

CL} 040 Medical Malpractice COMMERCIAL LITIGATION

(] 047 Asbestos

CASE TYPES:

C 048 Dram Shop
( 049 Product Liability
{-} 051 Construction Injuries
(including Structural Work Act, Road
Construction Injuries Act and Negligence)
(-.] 052 Railroad/FELA
[] 053 Pediatric Lead Exposure
(-] 061 Other Personal Injury/Wrongful Death
063 Intentional Tort
[] 064 Miscellaneous Statutory Action
( Please Specify Below**)
(C) 065 Premises Liability
(1) 078 Fen-phen/Redux Litigation
(J 199 Silicone Implant

TAX & MISCELLANEOUS REMEDIES

CASE TYPES:
(J 007 Confession Of Judgment
J 008 Replevin
[) 009 Tax
{-] 015 Condemnation
(C] 017 Detinue
(-] 029 Unemployment Compensation
[-] 031 Foreign Transcript
_] 036 Administrative Review Action
[] 085 Petition to Register Foreign Judgment
[] 099 All Other Extraordinary Remedies

By: /s RUTH IRENE MAJOR
(Attorney) (ProSe)

 

(1) 002 Breach of Contract
(J 070 Professional Malpractice
(other than legal or medical)
[-] 071 Fraud (other than legal or medical)
(J 072 Consumer Fraud
(_] 073 Breach of Warranty
L_] 074 Statutory Action
( Please Specify Below**)
) 075 Other Commercial Litigation
( Please Specify Below**)
L) 076 Retaliatory Discharge

OTHER ACTIONS

CASE TYPES:

wk

[] 062 Property Damage

(J 066 Legal Malpractice

() 077 Libel/Slander

C) 079 Petition for Qualified Orders
(1) 084 Petition to Issue Subpoena
(-] 100 Petition for Discovery

 

 

 

 

Primary Email: rmajor@major-law.com
Secondary Email: rfell@major-law.com
Tertiary Email: iziminski@major-law.com

 

Pro Se Only: [[] I have read and agree to the terms of the the Clerk's Offi ce Electronic Notice Policy and choose to opt in to electronic notice

form the Clerk’s Office for this case at this email address:

 

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 26 of 60 PagelD #:26

 

 

 

 

 

 

 

 

 

Summons - Alias Summons (12/31/15) CCG N001
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
JOHN ZINKEL
No. 2016-L-009718
v. Defendant Address:
LOYOLA UNIVERSITY HEALTH SYSTE; LOYOLA UNIVERSITY HEALTH SYSTE
VICKY PIPER; PRADIPTA KOMANDURI; R/A C T CORPORATION SYSTEM
CAROLYN NELSON 208 S LASALLE STREET
SUITE 814

 

 

CHICAGO, IL 60604

SUMMONS [_] ALIAS - SUMMONS
To each defendant:

YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the
following location:

[VJRichard J. Daley Center, 50 W. Washington, Room go
ODistrict 2 - Skokie CiDistrict 3 - Rolling Meadows
$600 Old Orchard Rd. 2121 Euclid 1500
Skokie, [L 60077 Rolling Meadows, IL 60008
CiDistrict 5- Bridgeview | (District 6 - Markham
10220 S. 76th Ave. 16501 S. Kedzie Pkwy. 50 W. Washington, LL-01
Bridgeview, IL 60455 Markham, IL 60428 Chicago, IL 60602
You must file within 30 days after service of this Summons, not counting the day of service.

,;Chicago, Illinois 60602
L] District 4 - Maywood

Maybrook Ave.
Maywood, IL 60153

LJRichard J. Daley Center

 

IF YOU FAIL TO DO SO, A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE
RELIEF REQUESTED IN THE COMPLAINT.

To the officer:

This Summons must be returned by the officer or other person to whom it was given for service, with endorsement
of service and fees, if any, immediately after service. If service cannot be made, this Summons shall be returned so
endorsed. This Summons may not be served later than thirty (30) days after its date.

Friday, 30 Septgrfiber.2016

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LC) Atty. No.: 45937 Witness:

Name: MAJOR RUTH I PC LAW OFFICES

Atty. for: JOHN ZINKEL
Address: 30 W MONROE ST #1650

 

City/State/Zip Code: @incaco. 11, 60603
Telephone: (312) 393-7544

Primary Email Address: }major@major-law.com

 

Secondary Email Address(es):

rfell@major-law.com

 

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DOROTHY BROWN, Clerk of ct at oars ) H)
Vode cino'd a
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Date of Service: URT CO

 

(To be inserted by officer on copy left with Defendant or other person)

**Service by Facsimile Transmission will be accepted at:

 

(Area Code) (Facsimile Telephone Number)

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

Page 1 of 1
Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 27 of 60 PageID #:27

Summons - Alias Summons (12/31/15) CCG NOO1

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

 

 

 

 

 

JOHN ZINKEL
No. 2016-L-009718
v- Defendant Address:
LOYOLA UNIVERSITY HEALTH SYSTE; ORADIPTA KOMANDURI
VICKY PIPER; PRADIPTA KOMANDURI; 2160 S. FIRST AVENUE
CAROLYN NELSON MAYWOOD, IL 60153

 

 

 

 

SUMMONS [] ALIAS - SUMMONS
To each defendant:
YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the
following location:

 

Richard J. Daley Center, 50 W. Washington, Room go Chicago, Illinois 60602
LI District 2 - Skokie (District 3 - Rolling Meadows (District 4 - Maywood

5600 Old Orchard Rd. 2121 Euclid 1500 Maybrook Ave.

Skokie, IL 60077 Rolling Meadows, IL 60008 Maywood, IL 60153
C)District 5 - Bridgeview | (District 6 - Markham ORichard J. Daley Center

10220 S. 76th Ave. 16501 S. Kedzie Pkwy. 50 W. Washington, LL-01

Bridgeview, IL 60455 Markham, IL 60428 Chicago, IL 60602

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LC) Atty. No.: 45037 Witness: Friday, 30 Saupe er. 20,6
Name: MAJOR RUTH | PC LAW OFFICES * Ef igi \s\
Atty. for: JOHN ZINKEL DOROTHY BROWN, Clerk of Ct Be A
Address: 30 W MONROE ST #1650 she g
City/State/Zip Code: ary eaco. IL 60603 Date of Service: ——

 

Telephone: (312) 893-7544 (To be inserted by officer on copy left with Defendant or other person)

Primary Email Address: jmajor@major-law.com

Secondary Email Address(es):

 

**Service by Facsimile Transmission will be accepted at:

 

rfell@major-law.com
(Area Code) (Facsimile Telephone Number)

 

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Page 1 of 1
Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 28 of 60 PagelD #:28

Summons - Alias Summons (12/31/15) CCG NO001

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

 

 

 

 

 

JOHN ZINKEL
No. 2016-L-009718
vs Defendant Address:
LOYOLA UNIVERSITY HEALTH SYSTE; CAROLYN NELSON
VICKY PIPER; PRADIPTA KOMANDURI; 2160 S. FIRST AVENUE
CAROLYN NELSON MAYWOOD, IL 60153

 

 

 

 

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Richard J. Daley Center, 50 W. Washington, Room go Chicago, Illinois 60602
LJ] District 2 - Skokie L)District 3 - Rolling Meadows LJDistrict 4 - Maywood

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Skokie, IL 60077 Rolling Meadows, IL 60008 Maywood, IL 60153
LKiDistrict 5 - Bridgeview | [District 6 - Markham CJRichard J. Daley Center

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Bridgeview, IL 60455 Markham, IL 60428 Chicago, IL 60602

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CI Atty. No.: 45037 Witness: Friday, 30 Septerfben.2016
Name: MAJOR RUTH I PC LAW OFFICES [+f dion \*\
Atty. for: JOHN ZINKEL DOROTHY BROWN, Clerk of Chae 8GP8 jE
Address: 30 W MONROE ST #1650 Ques
City/State/Zip Code: ap caco 11 60603 Date of Service: =

 

Telephone: (319) 993-7544 (To be inserted by officer on copy left with Defendant or other person)

Primary Email Address:  pmajor@major-law.com

Secondary Email Address(es):

 

**Service by Facsimile Transmission will be accepted at:

 

rfeil@major-law.com
{Area Code) (Facsimile Telephone Number)

 

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Page 1 of 1
Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 29 of 60 PagelD #:29

Summons - Alias Summons (12/31/15) CCG NOO1

 

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

 

 

 

 

 

JOHN ZINKEL
No. 2016-L-009718
v: Defendant Address:
LOYOLA UNIVERSITY HEALTH SYSTE; vicky PIpcR
VICKY PIPER; PRADIPTA KOMANDURI; 2160 S, FIRST AVENUE
CAROLYN NELSON MAYWOOD, IL 60153

 

 

 

 

SUMMONS [] ALIAS - SUMMONS
To each defendant:
YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the
following location:

 

(VJRichard J. Daley Center, 50 W. Washington, Room go ,Chicago, Illinois 60602
[JDistrict 2 - Skokie [JDistrict 3 - Rolling Meadows C1District 4 - Maywood

5600 Old Orchard Rd. 2121 Euclid 1500 Maybrook Ave.

Skokie, IL 60077 Rolling Meadows, IL 60008 Maywood, IL 60153
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10220 S. 76th Ave. 16501 S. Kedzie Pkwy. 50 W. Washington, LL-01

Bridgeview, IL 60455 Markham, IL 60428 Chicago, IL 60602

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CL) Atty. No.: 45037 Witness: Friday, 30 Septerber. 2016
Name: MAJOR RUTH I PC LAW OFFICES ‘Z f oaime ‘yx\
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Address: 30 W MONROE ST #1650 ‘sdessnanto®

i i : Date of Se ice: Te
City/State/Zip Code: CHICAGO. IL 60 ry UrT 0°
( inserted by officer on copy left with Defendant or other person)

Atty. for: JOHN ZINKEL DOROTHY BROWN, Clerk "Ci }

 

 

Telephone: (312) 993-7544
Primary Email] Address: rmajor@major-law.com
Secondary Email Address(es):

 

**Service by Facsimile Transmission will be accepted at:

 

rfell@major-law.com
(Area Code} (Facsimile Telephone Number)

 

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Page | of 1
   

 

     
 
 

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Order (Rev. 02/24/ 05) CCG N002

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 32 of 60 PagelD #:32

E-Notice

2016-L-009718
CALENDAR: R

 

To: HALL PRANGLE SCHOONVELD LLC
bhendricks@hpslaw.com

 

NOTICE OF ELECTRONIC FILING

 

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

JOHN ZINKEL vs. LOYOLA UNIVERSITY HEALTH SYSTE
2016-L-009718

The transmission was received on 01/17/2017 at 1:57 PM and was ACCEPTED with
the Clerk of the Circuit Court of Cook County on 01/17/2017 at 3:41 PM.

AMENDED COMPLAINT (Amended Verified Complaint at Law)
NOTICE OF FILING FILED (Notice of Filing)

Filer's Email: rmajor@major-law.com
Filer's Fax:

Notice Date: 1/17/2017 3:41:23 PM
Total Pages: 26

DOROTHY BROWN

CLERK OF THE CIRCUIT COURT

COOK COUNTY

RICHARD J. DALEY CENTER, ROOM 1001
CHICAGO, IL 60602

(312) 603-5031
courtclerk@cookcountycourt.com

DEFENDANT’S
i EXHIBIT

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PAGE 1 of 23

CIRCUIT COURT OF
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOBS COUNTY, IBLINOIS
COUNTY DEPARTMENT, LAW DIVISION CLERK DOROTHY BROWN

 

JOHN ZINKEL

Plaintiff,
Case No. 2016 L 009718
Vv.
Honorable Larry G. Axelrood
VICKY PIPER, an individual, PRADIPTA
KOMANDUREI, an individual, CAROLYN
NELSON, an individual, and LOYOLA
UNIVERSITY HEALTH SYSTEM, an
Illinois corporation,

Smee Nemec” Nome Ne See” Nee Nee” See” Nee”

Defendants.

AMENDED VERIFIED COMPLAINT AT LAW

Plaintiff John Zinkel, by his attorneys, The Law Offices of Ruth I. Major, P.C., for his
Amended Verified Complaint at Law against Defendants, Vicky Piper, Pradipta Komanduri,
Carolyn Nelson, and Loyola University Health System (“Loyola”) alleges as follows:

INTRODUCTION

I. Mr. Zinkel was employed by Loyola for 33 years during which time he was
repeatedly promoted and held various positions within the hospital. His most recent title was
Director of Respiratory Care.

2. During Mr. Zinkel’s employment, he helped redesign the Loyola LIFESTAR
Aeromedical Program, which provides critical care transport service, after he discovered that the
original helicopter transport service was improperly overcharging the hospital millions of dollars
per year. Mr. Zinkel’s contributions to the new LIFESTAR program included assisting the new
vendor in the building of the helicopter, whereby he had input into the design specifications, and

assisting in the hiring of the pilots who would be flying the new helicopter. Mr. Zinkel also
2016-L-009718

ELECTRONICALLY FILED
1/17/2017 1:57 PM
PAGE 2 of 23

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 34 of 60 PagelD #:34

developed the Loyola Pediatric Mobile Health Unit, which is a pediatric doctor’s office on wheels
that serves underprivileged communities in the Chicago area. The first of its kind in the Midwest,
it provides vital healthcare services to children and young adults, from birth to age 21, who might
otherwise not have access to healthcare in their community. It has served 113,000 patients since
its inception. Mr. Zinkel also developed the Loyola Fitness Center Operations. The Loyola Fitness
Center is a beautiful, state-of-the-art fitness club in Maywood, near Oak Park, with endless
amenities and services to fit the community’s needs. It is the only certified Medical Fitness
Association (MFA) facility in its area.

3. Mr. Zinkel was also recognized for his contribution to Loyola on multiple
occasions, as the recipient of multiple awards, including Loyola’s 2005 Spirit of Dr. Martin Luther
King Award, Ronald McDonald House Charities’ 2006 Spirit of Hope Award for his work with
the Loyola Pediatric Mobile Health Unit, and Loyola’s 2008 Magis Leadership Award.

4, Beginning in March 2013, Loyola began to discharge white male employees over
40, many of whom were long time employees of Loyola like Mr. Zinkel, and replace them with
younger, often female employees, and often non-white employees. Many of these employees had
devoted a large part of their professional careers to Loyola and were primary breadwinners for
their families. At that time, Human Resources expressed a goal of cutting costs, including by
reducing sick leave. Mr. Zinkel was very concerned about the company targeting sick leave,
especially because he was diagnosed with leukemia in 2011.

5. On or about September 30, 2014, Mr. Zinkel was directed to reduce his staff by
seven full-time equivalent employees (“FTEs”), which was almost twice the amount that had been

recommended by the Loyola unit responsible for determining appropriate staffing hospital-wide.
ELECTRONICALLY FILED
1/17/2017 1:57 PM
2016-L-009718
PAGE 3 of 23

 

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 35 of 60 PageID #:35

At that time, both Defendant Piper and Defendant Nelson were already aware of his medical
condition.

6. Following the meeting, Mr. Zinkel drafted several plans for staff reorganization but
those plans were always met with subjective criticism. Not a single one of his plans was deemed
acceptable by his supervisor, Defendant Komanduri. Based on his purported failures in connection
with the reorganization, Mr. Zinkel was placed on a Work Improvement Plan (hereinafter referred
to as “WIP”). He had never received any performance-related criticism prior to the issuance of the
WIP in his 33 years of employment, and the WIP contained false statements regarding his
performance. As a result of the stress induced by his receipt of the WIP and the WIP meeting itself,
Mr. Zinkel’s leukemia substantially worsened. Only three days after the WIP was instituted, Mr.
Zinkel collapsed twice, once in his office and once at the doctor’s office, causing his doctor to
place him on triple chemotherapy and a three-month leave per the Family and Medical Leave Act
of 1993, 29 U.S.C. § 2601, et seg. (hereinafter referred to as “FMLA). Mr. Zinkel attempted to
return to work only two months into his FMLA leave, as he feared for his job. He obtained his
doctor’s permission by volunteering to work during the day and receive his chemotherapy at night.
After returning to work, Mr. Zinkel continued to submit reorganization plans for his department,
and those plans were continually rejected by Defendant Komanduri and Defendant Nelson.
Finally, on February 20, 2015, Mr. Zinkel received a separation agreement and release from
Defendants Nelson and Komanduri. The time period for improving performance under the WIP
had not expired, and had in fact barely started, at the time he went on the FMLA-approved leave.
After informing both women that he was still receiving chemotherapy and their conduct may be in
violation of the Americans with Disabilities Act, 42 U.S.C. § 12101, et seq. (hereinafter referred

to as the “ADA”), they allowed a three-month extension of Mr. Zinkel’s FMLA leave but he was
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2016-L-009718
PAGE 4 of 23

 

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 36 of 60 PagelD #:36

not permitted to return to work. Mr. Zinkel was told that after his leave expired, his employment
would be terminated. Defendants maintained that the termination occurred for performance
reasons, yet in March 2015, the very month after he was told his employment was being
terminated, Acting Director of Respiratory Care Bob Obias, Mr. Zinkel’s significantly younger,
non-white, and non-disabled replacement, implemented the very same reorganization plan that had
been used as the basis for Mr. Zinkel’s performance plan. Prior to the termination of Mr. Zinkel’s
employment, he also suffered a work injury and was criticized for his injury. Mr. Zinkel has also
brought a wrongful termination claim based on Illinois common law.
PARTIES

7. Plaintiff John Zinkel is a citizen of Illinois. He was an employee of Loyola for 33
years before his employment was involuntarily terminated, holding the position of Director of
Respiratory Care just prior to the termination of his employment.

8. Defendant Vicky Piper is a citizen of Illinois. Ms. Piper, an agent of Loyola, worked
as the Human Resources Vice President at all times relevant to this Amended Verified Complaint.

9. Defendant Pradipta Komanduri is a citizen of Illinois. Ms. Komanduri, an agent of
Loyola, worked as Vice President at all times relevant to this Amended Verified Complaint.

10. Defendant Carolyn Nelson is a citizen of Illinois. Ms. Nelson, an agent of Loyola,
worked as Director of Human Resources at all times relevant to this Amended Verified Complaint.

11. Defendant Loyola was incorporated in the State of Illinois on June 11, 1984. At all
times relevant to this Amended Verified Complaint, Loyola was a not-for-profit corporation

headquartered in Illinois.
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2016-L-009718
PAGE 5 of 23

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 37 of 60 PagelD #:37

JURISDICTION AND VENUE

12. This Court has jurisdiction over this matter, as each party to the Complaint is a
resident of Illinois. 735 ILCS 5/2-209.

13. Venue is proper in this district pursuant to 735 ILCS 5/2-101 and 735 ILCS 5/2-
102 because the county in which the transaction out of which this cause of action arose was Cook
County, Illinois.

FACTS

14. Mr. Zinkel worked for Loyola for 33 years until his employment was terminated on
February 20, 2015.

15. Throughout his career at Loyola, Mr. Zinkel was responsible for a variety of
significant programs for Loyola. He developed the Loyola LIFESTAR Aeromedical Program, the
Loyola Mobile Medical Outreach Program, the Loyola Fitness Center Operations, and the Loyola
Pediatric Mobile Health Unit. The Loyola Pediatric Mobile Health Unit has cared for over 100,000
children. Programs nationwide base their model for similar programs on the one that Mr. Zinkel
developed. Mr. Zinkel drafted a manual for the mobile unit that is still used by the Ronald
McDonald House Charities Global Division in order to facilitate duplications. Ronald McDonald
House Charities recognized his efforts, as he was the recipient of the 2006 Spirit of Hope Award.

16. ‘In 2005, Mr. Zinkel became the Director of Respiratory Care and subsequently, in
2008, took on the additional role as director of Loyola Cardiology Noninvasive Care.

17. Defendant Piper had expressed Loyola’s concerns about decreasing costs for
several years. During a leadership meeting Plaintiff attended sometime in 2010, Defendant Piper

discussed the drawback of unproductive days off and specifically highlighted a Director of
2016-L-009718
PAGE 6 of 23

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 38 of 60 PageID #:38

Security that was hospitalized after a cancer diagnosis who, according to Defendant Piper, was
“costing us millions.”

18. In December of 2010, Mr. Zinkel provided interim coverage as Vice President of
Quality, Patient Safety, and Patient Satisfaction per the request of Loyola’s senior leadership at
the time. Trinity Healthcare acquired Loyola in 2011 and during that period of transition, Mr.
Zinkel worked with the Vice President and Chief Medical Officer in order to reorganize and
revitalize the Center for Clinical Effectiveness. His main charge in that role was to prevent staff
turnover and he had a 100% success rate.

19. Mr. Zinkel was diagnosed with acute lymphocytic leukemia in December of 2011.
Following this diagnosis, Mr. Zinkel’s doctors, who were also employees of Loyola, advised that
his condition should be monitored, as his health was not deteriorating to the extent that
chemotherapy or some other treatment would be required. Rather, the leukemia was worsening
gradually, which continued for approximately 18 months.

20. Beginning in March 2013, Loyola began to discharge white male employees over
40 and replace them with younger, usually female employees and usually non-white employees.
In a thirty-month period ending in December of 2015, Loyola terminated the employment of at
least 17 males, many of whom were long-time employees of Loyola, who were over forty years
old at the time their employment was terminated, and replaced them with younger employees.

21. In June of 2013, Mr. Zinkel’s medical condition drastically deteriorated. He was
hospitalized and placed on a three-month FMLA leave, during which he was placed on double
chemotherapy. Defendants Piper and Nelson were aware of Mr. Zinkel’s medical condition from

this time forward, as they had both approved of his FMLA leave.
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2016-L-009718
PAGE 7 of 23

ELECTRONICALLY FILED
1/17/2017 1:57 PM

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 39 of 60 PagelD #:39

22. After his FMLA leave ended in September of 2013, Mr. Zinkel returned to work.
He completed his six-month round of chemotherapy in December of 2013, and was doing well
enough that his doctors again advised that the best course was to simply monitor his condition. He
would not again require chemotherapy until late October of 2014.

23. On September 30, 2014, Mr. Zinkel met with Defendants Komanduri, Nelson, and
Piper, as well as Loyola’s Chief Executive Officer (“CEO”) Wendy Leutgens. The presence of the
CEO, as well as that of Defendant Piper, the Human Resources Vice President, was an anomaly,
as both usually would not have been involved in a meeting with Mr. Zinkel or someone else who
was the director of a comparable department, about a subject like staffing in that department.

24. Nonetheless, during that meeting, Mr. Zinkel was addressed only by Ms. Leutgens
and Defendant Piper, who directed him to reduce the number of full-time equivalent employees
(FTEs) on his staff by 7. At the time, this represented a cut of approximately 8.24% of his FTE
staff. Mr. Zinkel tried to advise the individual Defendants and Ms. Leutgens that the metrics they
were using to evaluate his staff needs only considered a minute percentage of the appropriate
metrics, and that from a clinical perspective, he needed to retain his staff at its current numbers, or
at least to cut fewer than the 7 positions they demanded. However, Defendants and Ms. Leutgens
did not alter their position.

25. Defendants directed him to reduce his FTEs by the wrong amount. Decision
Support, the unit at Loyola charged with determining appropriate staffing throughout the hospital,
subsequently informed Mr. Zinkel, after he sought their input on the same day he met with the
individual Defendants and Ms. Leutgens, that the number by which he should have been advised

to reduce his staff was 4. As a result, Mr. Zinkel arranged to cut his staff by 4 FTEs.
2016-L-009718

ELECTRONICALLY FILED
1/17/2017 1:57 PM
PAGE 8 of 23

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 40 of 60 PagelD #:40

26. In the September 30 meeting with the individual Defendants and Ms. Leutgens, Mr.
Zinkel was asked to prepare an organizational plan for his department, which would demonstrate
how he intended to accommodate the FTE reduction without decreasing the services that the
department provided.

27. Mr. Zinkel submitted such a plan to Defendant Komanduri, as she was his
supervisor, and sought her input on that plan. She never responded to his submission prior to his
next meeting with the same four individuals, which occurred approximately two weeks after the
September 30 meeting. During that second meeting, Ms. Leutgens ridiculed Mr. Zinkel again,
claiming to “not buy” his position that the staffing metrics should be based on approximately 100
data points to cover the services offered by the staff in Mr. Zinkel’s department.

28. Mr. Zinkel’s initial plan was rejected at that meeting, which forced his reduced staff
to continue to proceed under the old organizational structure, which was developed to function
with 4 more staff members than were at that time employed by the department. At that meeting,
Defendant Piper also treated Mr. Zinkel with disdain after he mentioned that attempts to hire other
personnel for his department had not been successful, in part due to the compensation packages
that were offered by Defendant Loyola being less than the potential employees could earn for the
same work elsewhere.

29, In the following weeks, Mr. Zinkel presented multiple different plans to Defendant
Komanduri and all such plans were immediately rejected.

30. Finally, on October 24, 2014, Defendant Komanduri and Mr. Zinkel had a
discussion via email regarding next steps for moving forward with the most recent plan that had
been submitted by Mr. Zinkel. This indicated to Mr. Zinkel that this plan might be approved, or at

least, that he was making progress. At the end of the discussion, Defendant Komanduri even closed
2016-L-009718
PAGE 9 of 23

ELECTRONICALLY FILED
1/17/2017 1:57 PM

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 41 of 60 PagelID #:41

her last email on the topic by advising him to have a good weekend, as the discussion concluded
near the end of that day, which was a Friday.

31. Just eighteen minutes after Defendant Komanduri’s email was sent, Mr. Zinkel was
called into her office where Defendants Komanduri and Nelson waited. At this point, Mr. Zinkel
was issued a WIP that had been signed by Defendant Komanduri. However, Defendant Komanduri
did not speak during this meeting. Instead, Defendant Nelson yelled and screamed at Mr. Zinkel
that he was wasting everyone’s time with the plans he had proposed, and threatened that he would
lose his job, his benefits, and his whole career if he did not develop a reorganization plan that they
approved. Based on a seminar that Mr. Zinkel and other Loyola managers had attended, he
recognized Defendant Nelson utilizing the type of language one used when attempting to bait an
employee into responding in kind, which would have given Defendant Nelson immediate
justification to terminate Mr. Zinkel’s employment, for cause, due to what would have been called
“disrespectful and insubordinate behavior.” Mr. Zinkel did not respond in kind and kept his
professional demeanor throughout the meeting.

32. Mr. Zinkel had no prior indication that they considered his performance to be
deficient, especially in light of the fact that less than twenty minutes before, Defendant Komanduri
had indicated moving forward with the plan most recently proposed by Mr. Zinkel. The WIP
contained false statements regarding Mr. Zinkel’s work performance.

33. Mr. Zinkel told the Defendants that he had been an employee for 33 years, had
always received positive performance reviews, and that he was suffering from leukemia and
needed his job and benefits. Mr. Zinkel began to cry and Defendants Komanduri and Nelson

offered no response. Mr. Zinkel was the sole breadwinner for his wife, who was then and remains
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2016-L-009718
PAGE 10 of 23

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 42 of 60 PageID #:42

disabled, and his school-aged daughter. He understood that the path Defendants were going down
would ultimately result in the loss of his 33-year career at Loyola and likely his livelihood.

34. | Over the next two days, Mr. Zinkel had trouble sleeping and was understandably
distraught about the meeting at which he was issued the WIP.

35. Three days later, on October 27, 2014, Mr. Zinkel collapsed in his office. Upon
arriving at the Cancer Center, Mr. Zinkel again collapsed, and his physicians found that his
leukemia had severely worsened and he would require triple chemotherapy for the next six months.

36. | When Mr. Zinkel’s doctor asked what could have caused the rapid worsening of his
cancer, Mr. Zinkel told him of his job stress and the most recent WIP. After hearing such news,
Dr. Scott Smith completed FMLA leave paperwork for him and Mr. Zinkel was subsequently
placed on a three-month leave.

37. On December 27, 2014, only two months into the three-month leave he was
approved to take, Mr. Zinkel submitted a Return to Work letter and returned to work. His plan was
to work during the day shift and receive chemotherapy at night, as he was fearful that he would
lose his job if he did not return as soon as he felt well enough to do so, given the comments by
Defendant Piper dating back to 2010, and the meetings he had with Defendants over the preceding
few months.

38. | Mr. Zinkel attached a copy of his chemotherapy schedule to his letter and sent it to
Defendant Komanduri. She did not respond. Throughout January and February of 2015, Mr. Zinkel
met with Defendant Komanduri to review his progress on his plan for staff reorganization and on
his WIP. Those meetings were also attended by Defendant Nelson, who did the majority of the

talking just as she had during the October 24 WIP meeting.

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1/17/2017 1:57 PM
PAGE It of 23

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 43 of 60 PagelD #:43

39. On Friday, February 20, 2015, Mr. Zinkel was called into a meeting with Human
Resources. At the meeting, he received a Confidential Separation Agreement and Release from
Defendants Nelson and Komanduri. After Mr. Zinkel informed them that he was still receiving
chemotherapy and that their actions might be in violation of the ADA, the two women left the
room for approximately thirty minutes and then returned to inform Mr. Zinkel that he could extend
his FMLA leave for another three months. However, they also notified Mr. Zinkel that at the end
of the three-month extension, they could either finalize the separation agreement or start a long-
term disability claim.

40, Mr. Zinkel asked if he would be allowed to return to Loyola following his FMLA
leave and Defendants Nelson and Komanduri replied that his employment would be terminated
once his leave expired.

41. In March of 2015, less than a month after the termination of Mr. Zinkel’s
employment, Acting Director Bob Obias, Mr. Zinkel’s interim replacement, implemented the very
organizational plan that was the purported basis for Defendants’ decision to terminate Mr. Zinkel’s
employment. The 100-point metric that Mr. Zinkel had been proposing since the September 30,
2014 meeting, that Defendants repeatedly rejected, was also adopted soon after the termination of
Mr. Zinkel’s employment. Both were accepted by Defendants when proposed by Mr. Zinkel’s
replacement. On the basis of those data points, under that metric, Defendant Loyola advised Mr.

Obias that his department was understaffed.

COUNT I - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
(Defendants Piper, Komanduri, and Nelson)

42. Mr. Zinkel restates and realleges by reference paragraphs 1 through 41 as paragraph

42 of Count I.

11
2016-L-009718

ELECTRONICALLY FILED
1/17/2017 1:57 PM
PAGE 12 of 23

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 44 of 60 PagelD #:44

43, Defendants occupied a position of authority giving them the power to affect Mr.
Zinkel’s continued employment and compensation with Loyola. The individual Defendants were
agents of Defendant Loyola and used the positions and authority bestowed upon them by
Defendant Loyola to cause severe emotional distress to Mr. Zinkel.

44, As of their September 30, 2014 meeting with Mr. Zinkel, wherein they advised him
to cut seven FTEs from his department, Defendants had recently demonstrated a pattern of
discharging employees in Mr. Zinkel’s demographic. Defendants had also expressed goals of
cutting what they referred to as “non-productive days off,” which included sick days.

45. Mr. Zinkel was diagnosed with leukemia in late 2011 and was experiencing the
stress that comes with a cancer diagnosis from that point forward. Defendants Nelson and Piper
were aware of his condition as of their approval of his June 2013 FMLA leave, and Defendant
Komanduri was informed by Mr. Zinkel that he had leukemia during the October 24, 2014 WIP
meeting.

46. Defendants knew that directing Mr. Zinkel to fire seven FTEs would add emotional
distress to his already vulnerable state.

47. After verifying the correct number of FTEs was four, Mr. Zinkel drafted plans that
would ensure that his department would continue running in the same manner as directed by
Defendants.

48. Defendants intentionally denied any plans that Mr. Zinkel proposed to make him
seem ineffective.

49. The conduct Defendants engaged in, including consistently denying Mr. Zinkel’s
plans while he was in an already emotionally and physically vulnerable state, issuing a WIP with

false statements regarding his performance, yelling at him and attacking him during meetings,

12
2016-L-009718

ELECTRONICALLY FILED
1/17/2017 1:57 PM
PAGE 13 of 23

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 45 of 60 PagelID #:45

attempting to terminate Mr. Zinkel’s employment while he was receiving increased chemotherapy
and had just returned to work early from an FMLA leave, and ultimately approving his plans when
later presented by his successor, after ridiculing and denying those same plans when proposed by
Mr. Zinkel was extreme and outrageous.

50. Defendants meant to cause, or recklessly or consciously disregarded the probability
that their treatment of Mr. Zinkel may cause, severe emotional distress to a man who previously
advised them that maintaining his job and his health benefits was critical to his ability to survive
his leukemia diagnosis, and could also cause him additional stress that could and did exacerbate
his already fragile medical condition.

51. As a proximate result of the Defendants’ conduct, Mr. Zinkel has suffered severe
and extreme emotional distress, in the form of fright, worry, shame, hopelessness, despair,
humiliation, and panic that he might die if he lost his job and his benefits, rendering him unable to
pay for his continued medical care. Those emotions manifested in Mr. Zinkel breaking down and
crying at the October 24, 2014 meeting, Mr. Zinkel collapsing in his office, and ultimately a severe
worsening of his previously diagnosed leukemia.

52. No reasonable person could have been expected to endure the treatment Mr. Zinkel
received, given his medical condition of which Defendants were aware when they caused him
additional stress and severe emotional distress.

WHEREFORE, Plaintiff John Zinkel respectfully requests the entry of judgment in his
favor and against Defendants Piper, Komanduri, and Nelson, jointly and severally, as follows:

A. An award of compensatory damages in an amount to be proven at trial, but which
is in excess of $30,000;

B. An award of costs;

13
2016-L-009718

ELECTRONICALLY FILED
1/17/2017 1:57 PM
PAGE 14 of 23

 

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 46 of 60 PagelD #:46

C. An award of punitive damages to be determined by the trier of fact; and
D. Such other, further, and additional relief as may be just in law and in equity.
COUNT II - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS, BY
RESPONDEAT SUPERIOR
(Against Defendant Loyola)

53. Mr. Zinkel restates and realleges by reference paragraphs | through 52 as paragraph
53 of Count II.

54. When the individual Defendants caused Mr. Zinkel severe emotional distress
through their pattern of extreme and outrageous conduct as detailed supra, either with the intent
to cause, or the knowledge of a high degree of probability that their conduct would cause, severe
emotional distress to Mr. Zinkel, they were acting within the scope of their employment with
Defendant Loyola.

55. As the individual Defendants acted within the scope of their employment while
committing intentional infliction of emotional distress against Mr. Zinkel, their conduct may be
imputed to Defendant Loyola by the theory of respondeat superior.

WHEREFORE, Plaintiff John Zinkel respectfully requests the entry of judgment in his
favor and against Defendant Loyola, as follows:

A. An award of compensatory damages in an amount to be proven at trial, but which

is in excess of $30,000;

B. An award of costs;
C. An award of punitive damages to be determined by the trier of fact; and
D. Such other, further, and additional relief as may be just in law and in equity.

14
2016-L-009718

ELECTRONICALLY FILED
1/17/2017 1:57 PM
PAGE 15 of 23

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 47 of 60 PagelD #:47

COUNT III - TORTIOUS INTERFERENCE WITH
A BUSINESS RELATIONSHIP OR EXPECTANCY
(Against Defendants Piper, Komanduri, and Nelson)

56. | Mr. Zinkel restates and realleges by reference paragraphs | through 55 as paragraph
56 of Count III.

57. Mr. Zinkel was an employee with Loyola for over thirty-three years. All parties
were aware of said employment relationship.

58. | Defendants had no justification for including false information within the WIP that
they issued to Mr. Zinkel.

59. Defendants had no justification for denying Mr. Zinkel’s plans to address the
concerns they raised with him on September 30, 2014, while also allowing his department to
maintain its previous level of service to patients. Their lack of justification for said denial was
evidenced when one of his plans was adopted and implemented when proposed by his interim
successor following the termination of Mr. Zinkel’s employment.

60. Considering Mr. Zinkel’s clinical qualifications, experience, and lack of valid
performance criticisms, the individual Defendants acted in direct contradiction to the interests of
Defendant Loyola.

61. Prior to the meetings on September 30, 2014, October 24, 2014, and February 20,
2015, Mr. Zinkel reasonably expected to continue his employment with Loyola. Defendants knew
of his intention to maintain his employment with Loyola as he expressed such an intention at the
September 30, 2014 meeting, at which he advised Defendants of his desire to keep his job and to

retain all the benefits associated with that position to allow him to continue to work, while also

undergoing treatment for his medical condition.

15
ELECTRONICALLY FILED
1/17/2017 1:57 PM
2016-L-009718
PAGE 16 of 23

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 48 of 60 PagelD #:48

62. The individual Defendants interfered with and terminated Mr. Zinkel’s
employment and thereby interfered with the continued development of his business relationship
with Defendant Loyola. They did so to further their own interests in presenting a reduced budget
to corporate headquarters because by reducing costs they would receive higher bonuses. It was not
in the interest of Defendant Loyola to violate state and federal discrimination laws and expose
Defendant Loyola to damages. Nor was it in Loyola’s interest to terminate the employment of a
33-year veteran who had contributed so much to the hospital and the community.

63. As aresult of tortious interference by the individual Defendants, Mr. Zinkel has
damages including, but not limiting to, substantial loss of economic opportunity and damage to his
professional reputation.

WHEREFORE, Plaintiff John Zinkel respectfully requests the entry of judgment in his

favor and against Defendants Piper, Komanduri, and Nelson as follows:

A. An award of compensatory damages in an amount to be proven at trial;

B. An award of punitive damages to be determined by the trier of fact;

C. An award of costs; and

D. Such other, further, and additional relief as may be just in law and in equity.

COUNT IV - DISCRIMINATION IN VIOLATION OF TITLE VII OF THE CIVIL
RIGHTS ACT OF 1964, 42 U.S.C. § 20006 ef seq.
(Against Defendant Loyola)
64. | Mr. Zinkel restates and realleges by reference paragraphs | through 63 as paragraph
64 of Count IV.

65. | Mr. Zinkel, a Caucasian male, met the legitimate expectations of his employer

Loyola at the time his employment was terminated.

16
ELECTRONICALLY FILED
1/17/2017 1:57 PM
2016-L-009718
PAGE 17 of 23

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 49 of 60 PagelD #:49

66. During the last year of his employment, Mr. Zinkel was treated less favorably than
similarly situated colleagues who were outside his protected classes, including race and age.

67. Mr. Zinkel was replaced by someone outside his protected classes.

68. | The reasons for the termination of Mr. Zinkel’s employment were pretextual. The
true reasons for the termination were unlawful discrimination based at least in part on his race and
age.

69. | The aforementioned conduct is a violation of Title VII of the Civil Rights Act of
1964, 42 U.S.C. § 2000e et seqg., and resulted in damage to Mr. Zinkel.

WHEREFORE, Plaintiff John Zinkel respectfully requests the entry of judgment in his
favor and against Defendant Loyola, as follows:

A. An award of compensatory damages in an amount to be proven at trial, but which

is in excess of $30,000;

B. An award of punitive damages to be determined by the trier of fact;

Cc. An award of costs;

D. An award of attorney’s fees;

E, Injunctive relief prohibiting Loyola from engaging in such conduct in the future;
and

F, Such other, further, and additional relief as may be just in law and in equity.

COUNT V — DISCRIMINATION IN VIOLATION OF THE
AGE DISCRIMINATION IN EMPLOYMENT ACT, 29 U.S.C. § 621 et seq.
(Against Defendant Loyola)

70. Mr. Zinkel restates and realleges by reference paragraphs | through 69 as paragraph

70 of Count V.

17
2016-L-009718

ELECTRONICALLY FILED
1/17/2017 1:57 PM
PAGE 18 of 23

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 50 of 60 PagelD #:50

71. Mr. Zinkel was over the age of 40 and met the legitimate expectations of his
employer Loyola at the time his employment was terminated.

72. During the last year of his employment, Mr. Zinkel was treated less favorably than
similarly situated colleagues who were under the age of 40 or significantly younger than him.

73. Mr. Zinkel was replaced by someone outside his protected class.

74. The reasons for the termination of Mr. Zinkel’s employment were pretextual. The
true reasons for the termination were unlawful discrimination in violation of the Age
Discrimination in Employment Act.

75. The aforementioned conduct is a violation of the Age Discrimination in
Employment Act, 29 U.S.C. § 621 et seg., and resulted in damage to Mr. Zinkel.

WHEREFORE, Plaintiff John Zinkel respectfully requests the entry of judgment in his

favor and against Defendant Loyola, as follows:

A. An award of liquidated damages in the amount of twice his lost wages;

B An award of costs;

C. An award of attorney’s fees; and

D Such other, further, and additional relief as may be just in law and in equity.

COUNT VI —- DISCRIMINATION IN VIOLATION OF
THE AMERICANS WITH DISABILITIES ACT, 42 U.S.C. §12111 ef seq.
(Against Defendant Loyola)
76. Mr. Zinkel restates and realleges by reference paragraphs | through 75 as paragraph
76 of Count VI.
77. Mr. Zinkel was disabled yet met the legitimate expectations of his employer Loyola

at the time of the termination of his employment. Prior to the termination of his employment, he

was diagnosed with leukemia, a diagnosis that was known to his then employer Loyola.

18
2016-L-009718

ELECTRONICALLY FILED
1/17/2017 1:57 PM
PAGE 19 of 23

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 51 of 60 PagelD #:51

78.

During the last year of his employment, Mr. Zinkel was treated less favorably than

similarly situated colleagues who were not disabled.

79,

80.

Mr. Zinkel was replaced by someone who was not disabled.

The reasons for the termination of Mr. Zinkel’s employment were pretextual. The

true reasons for the termination were unlawful discrimination based at least in part on his disability.

81.

The aforementioned conduct is a violation of the Americans with Disabilities Act,

42 U.S.C. § 12111 ef seqg., and resulted in damage to Mr. Zinkel.

WHEREFORE, Plaintiff John Zinkel respectfully requests the entry of judgment in his

favor and against Defendant Loyola, as follows:

A.

An award of compensatory damages in an amount to be proven at trial, but which

is in excess of $30,000;

B. An award of costs;

C. An award of attorney’s fees;

D. An award of punitive damages to be determined by the trier of fact;

E, Injunctive relief prohibiting Loyola from engaging in such conduct in the future;
and

F. Such other, further, and additional relief as may be just in law and in equity.

COUNT VII - WRONGFGUL DISCHARGE
(Against Defendant Loyola)

82. | Mr. Zinkel restates and realleges by reference paragraphs | through 81 as paragraph
82 of Count VII.

83. | Mr. Zinkel suffered from a work injury and filed a worker’s compensation claim

under the Illinois Workers Compensation Act, 820 ILCS 305/1 ef seq., prior to the termination of

19
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ELECTRONICALLY FILED
1/17/2017 1:57 PM
2016-L-009718
PAGE 20 of 23

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 52 of 60 PagelD #:52

his employment by Loyola. The workers’ compensation claim filed by Mr. Zinkel was known to
Loyola prior to and at the time of the termination of Mr. Zinkel’s employment.

84. During the last year of his employment, Mr. Zinkel was treated less favorably than
similarly situated colleagues who had not filed workers’ compensation claims. Loyola
management made negative comments about his work injury prior to the termination of his
employment and expressed disdain toward injured or ill employees.

85. | The reasons for the termination of Mr. Zinkel’s employment were pretextual as he
was meeting his employer’s legitimate expectations at the time of the termination of his
employment. The true reasons for the termination were unlawful discrimination based at least in
part on filing a worker’s compensation claim.

86. It is against Illinois public policy to terminate the employment of employees who
have filed claims based on work injuries.

87. The aforementioned conduct is a violation of Illinois common law and resulted in
damage to Mr. Zinkel.

WHEREFORE, Plaintiff John Zinkel respectfully requests the entry of judgment in his
favor and against Defendant Loyola, as follows:

A. An award of compensatory damages in an amount to be proven at trial, but which

is in excess of $30,000;

B. An award of punitive damages to be determined by the trier of fact;

Cc. An award of costs; and

D. Such other, further, and additional relief as may be just in law and in equity.
JURY DEMAND

Plaintiff demands trial by jury on all issues so triable.

20
ELECTRONICALLY FILED
1/17/2017 1:57 PM
2016-L-009718
PAGE 21 of 23

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 53 of 60 PageID #:53

Respectfully submitted,

Dated: January 17, 2017 JOHN ZINKEL

/s/ Ruth I. Major
One of His Attorneys

Ruth I. Major

Daniel R. Broadwell

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30 West Monroe Street, Suite 1650
Chicago, Illinois 60603

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Firm No. 45037

21
Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 54 of 60 PagelD #:54

VERIFICATION
Under penaltics as provided by law pursuant to Section 1-109 of the Hlinois Code of
Civil Procedure, the undersigned certifies that the statements sct forth in this instrument are truc
and correct, except as to matters therein stated to be on information and belief and as to such

matters the undersigned certifics as atoresaid that he verily believes the same to be true.

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John FBKeI 7

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Date

 

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PAGE 23 of 23

 

 

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 55 of 60 PagelD #:55

CERTIFICATE OF SERVICE

I hereby certify that on January 17, 2017, I filed Plaintiff's Amended Verified Complaint
with the Clerk of Court and emailed notification of said filing to all parties listed below:

Camille Khodadad

Brian F. Hendricks

Hall Prangle & Schoonveld
200 South Wacker Drive
Suite 3300

Chicago, Illinois 60606
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bhendricks@hpslaw.com

/s/ Ruth I. Major

Ruth I. Major

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PAGE | of 3
CIRCUIT COURT OF
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINO@#SK COUNTY, ILLINOIS

COUNTY DEPARTMENT, LAW DIVISION ROM LAW DIVISION

 

JOHN ZINKEL

Plaintiff,
Case No. 2016 L 009718
Vv.
Honorable Larry G. Axelrood
VICKY PIPER, an individual, PRADIPTA
KOMANDURI, an individual, CAROLYN
NELSON, an individual, and LOYOLA
UNIVERSITY HEALTH SYSTEM, an
Illinois corporation,

Defendants.

NOTICE OF FILING

TO: Camille Khodadad
Brian F. Hendricks
Hall Prangle & Schoonveld
200 South Wacker Drive
Suite 3300
Chicago, Illinois 60606
Phone: (312) 345-9600
ckhodadad@hpslaw.com

bhendricks@hpslaw.com

Please take notice that on January 17, 2017 counsel for Plaintiff, John Zinkel, filed with
the Clerk of the Circuit Court of Cook County Plaintiffs’ Amended Verified Complaint, a true
and correct copy of which is hereby served upon you.

Dated: January 17, 2017 Respectfully Submitted,

JOHN ZINKEL

By: ___/s/Ruth I. Major
One of His Attorneys
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1/17/2017 1:57 PM
2016-L-009718
PAGE 2 of 3

 

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 57 of 60 PagelD #:57

Ruth I. Major

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2016-L-009718
PAGE 3 of 3

 

 

Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 58 of 60 PageID #:58

CERTIFICATE OF SERVICE

I hereby certify that on January 17, 2017, 1 filed the foregoing Notice of Filing for
Plaintiff?s Amended Verified Complaint with the Clerk of Court and emailed notification of said

filing to all parties listed below:

Ruth I. Major
Daniel R. Broadwell

Camille Khodadad

Brian F. Hendricks

Hall Prangle & Schoonveld
200 South Wacker Drive
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/s/ Ruth I. Major

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Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 59 of 60 PagelD #:59

 

 

 

 

Law DIVISION

Litigant List
Printed on 01/17/2017
Case Number: 2016-L-009718 Page 1 of 1

Plaintiffs
Plaintiffs Name Plaintiffs Address State Zip Unit #
ZINKEL JOHN 0000
Total Plaintiffs: 1

Defendants
Defendant Name Defendant Address State Unit # Service By
KOMANDURI PRADIPTA 2160 S. FIRST AVENUE IL 0000
NELSON CAROLYN 2160 S. FIRST AVENUE IL 0000
PIPER VICKY 2160 S. FIRST AVENUE IL 0000
LOYOLA UNIVERSITY 0000
HEALTH

Total Defendants: 4
Case: 1:17-cv-01227 Document #: 1 Filed: 02/15/17 Page 60 of 60 PagelD #:60

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IN_ THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS Rey, 1/17
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-v- Motion Call: “R” Time) qe 44 Line i }
eferiant . jeT AL, } ) 2005 Trial Date: A;/ a
*°CASE MANAGEMENT ORDER** ['¥//"
** (Please check off all pertinent paragraphs and circle proper party name) **
(4231) 1. Written, 213()(1), (O(2) and 214 discovery to be issued by or deemed waive
(4296) 2. Written, 213((1), (N(2) and 214 discovery to be answered by
(4218) 3. Party depositions, fact, 213({)(1) and/or (2) depositions to be completed by
(4297) 4. Plaintiff to send list & addresses of treaters to Defendant(s) by
(4288) 5. Subpoenas for treating physicians’ records/deps to be issued by or deemed waive
(4218) 6. Treating physicians depositions to be completed by
(4231) 7. All dispositive motions shall be filed no later than
(4296) 8. AILSCR 215 & 216 discovery completed by
(4206) 9. (Plaintiff) - (Defendant) - (Add. Party) shall answer 213 ({)(3) Interrogatories by
(4218) 10. Plaintiffs 213(f)(3) witnesses’ depositions to be completed by
(4218) 11. Defendant’s 213(f)(3) witnesses’ depositions to be.completed by
(4218) 12. Add. party’s 213(f)(3) witnesses’ depositions to be completed by
(4295) —s«d13. All fact discovery, SCR 213(f)(1), (f(2), 215(a) and 216 discovery is closed. (Circle all applicab
(4619) 14. Thaangtter i is Goritfnued for subsequent Case Management Conference on 2 A 3f | |
at" /PM in Room 2208 for:
(A), Z Proper Service (B) Appearance of Defendants — (C) Case Value
(D) “Pleadings Status (FE) Discovery Status (PF) Pre-Trial/Settlement
(G) Mediation, Status i) Trial Certification a Other
ereamaas Meroy TO DBUISS 1S EXTELED Ap COMED TO
MARCH 3, BON, pt ICCC RAy
(4005) ——s14. Case is DWP’d. (4040) The case is voluntarily dismissed pursuant to 735 ILCS 5/2-1009
(4331) —si15. Case stricken from (4284) Motion Stricken or (4330) Case stricken from

CMC Call ~ Withdrawn from Call Motion Call.

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ATTY FORPARTY: UDGE
NOTICE: i roa

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* COPIES OF ALL PRIOR CMC ORDERS MUST | Jubse CARI Axi! BO!
BE BROUGHT TO ALL CMC COURT DATES. \

+ FAILURE OF ANY PARTY TO COMPLY WITH
THIS CMC ORDER WILL BE A BASIS FOR SCR :
219(C) SANCTIONS, FAILURE OF ANY PARTY bopacs coors i DEFENDANT'S
TO ENFORCE THIS CMC ORDER WILL CONSTITUTE lover oF mir Carey COUR EXHIBIT

A WAIVER OF SUCH DISCOVERY BY THAT PARTY. late

  

 

 

 

 

 
